     Case 5:17-cv-02470-JGB-KK Document 94 Filed 03/02/20 Page 1 of 7 Page ID #:741




 1    Jerry L. Steering, Esq. [State Bar No. 122509]
 2    Brenton W. Aitken Hands [State Bar No. 308601]
      LAW OFFICE OF JERRY L. STEERING
 3    4063 Birch Street, Suite 100
 4    Newport Beach, CA 92660
      Telephone: (949) 474-1849
 5
      Facsimile: (949) 474-1883
 6    jerrysteering@yahoo.com
 7    brentonaitken@gmail.com
 8    Attorneys for Plaintiff Lu Ann V. Barrio, individually and as successor in interest to
 9    Jonathan Wayne Barrio
10
                              UNITED STATES DISTRICT COURT
11
                            CENTRAL DISTRICT OF CALIFORNIA
12
13                               ) Case No. 5:17-cv-02470-JGB (KKx)
      LU ANN V. BARRIO, individually
                                 )
14    and as successor in interest to
                                 )
      JONATHAN WAYNE BARRIO,     ) PLAINTIFF’S OPPOSITION TO
15                               ) DEFENDANTS’ MOTION TO DISMISS
                                 )
16          Plaintiff,           ) THE THIRD AMENDED COMPLAINT
                                 ) AS TO TIMOTHY PLUNKETT AND
17                               )
            vs.                  ) ERIC CLINTON PURSUANT TO
18                               ) FEDERAL RULE OF CIVIL
                                 )
19    COUNTY OF SAN              ) PROCEDURE 12(b)(6); MEMORANDUM
      BERNARDIINO; THOMAS        ) OF POINTS AND AUTHORITIES
20
      LEVAN; ERIC CLINTON;       )
                                 )
21    TIMOTHY PLUNKETT; JOSEPH ) HEARING DATE:            March 23, 2020
                                 )
      DUGAN; PAUL VUE; and DOES 2 TIME:                   9:00 a.m.
22                               )
      through 10, inclusive,     ) CTRM:                  1
23                               )
                                 )
24          Defendants.          )
                                 )
25                               ) UNITED STATES DISTRICT JUDGE
                                 )
26                               ) JESUS G. BERNAL
27
28
      PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS THE THIRD AMENDED
       COMPLAINT AS TO TIMOTHY PLUNKETT AND ERIC CLINTON PURSUANT TO FEDERAL
        RULE OF CIVIL PROCEDURE 12(b)(6); MEMORANDUM OF POINTS AND AUTHORITIES
                                             1
     Case 5:17-cv-02470-JGB-KK Document 94 Filed 03/02/20 Page 2 of 7 Page ID #:742




 1        PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
 2
            I.     THIS COURT SHOULD DENY DEFENDANTS’ MOTION TO
 3                 DISMISS IN ITS ENTIRETY.
 4
                   A.     The “Relation-Back” of Previously Unnamed “Doe Defendants”
 5
                          Under Cal. Code Civ. Proc § 474.
 6
 7          Plaintiff concurs with Defendants’ statement of the law to the extent it suggests the
 8    running of the statute of limitations is grounds for a motion to dismiss under Fed. R. Civ.
 9    P. 12(b)(6), and to the extent it suggests that the applicable statute of limitations for the
10    instant action under 42 U.S.C. § 1983 is California’s two year statute of limitations for
11    personal injury actions. (See Doc. 89 at 9-11 [citing VanSaher v. Norton Simon Museum
12    of Art of Pasadena, 592 F. 3d 954, 969 (9th Cir. 2018); Jablon v. Dean Wiittter & Co.,
13    614 F.2d 677, 682 (9th Cir. 1980); Douglas v. Noelle, 567 F.3d 1103, 1109 (9th Cir.
14
      2009); Canatella v. Van De Kamp, 486 F.3d 1128, 1132 (9th Cir. 2007); Maldonado v.
15
      Harris, 370 F.3d 945, 954-55 (9th Cir. 2004); Cal. Code Civ. Proc. § 335.1].)
16
            Cal. Code. Civ. Proc. § 474 provides:
17
            When the plaintiff is ignorant of the name of a defendant, he must state that
18          fact in the complaint, or the affidavit if the action is commenced by affidavit,
19          and such defendant may be designated in any pleading or proceeding by
            any name, and when his true name is discovered, the pleading or proceeding
20
            must be amended accordingly[.]
21    Cal. Code. Civ. Proc. § 474 (emphases added).1 Thus, CCP § 474 allows a plaintiff to sue
22    an unknown defendant “by any name,” so long as plaintiff is “ignorant” of the “true
23
24          1
             CCP § 474 also provides:
           that no default or default judgment shall be entered against a defendant so designated,
25         unless it appears that the copy of the summons or other process, or, if there be no
26         summons or process, the copy of the first pleading or notice served upon such defendant
           bore on the face thereof a notice stating in substance: “To the person served: You are
27         hereby served in the within action (or proceedings) as (or on behalf of) the person sued
           under the fictitious name of (designating it).” The certificate or affidavit of service must
28
           state the fictitious name under which such defendant was served and the fact that notice
      PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS THE THIRD AMENDED
       COMPLAINT AS TO TIMOTHY PLUNKETT AND ERIC CLINTON PURSUANT TO FEDERAL
        RULE OF CIVIL PROCEDURE 12(b)(6); MEMORANDUM OF POINTS AND AUTHORITIES
                                                          2
     Case 5:17-cv-02470-JGB-KK Document 94 Filed 03/02/20 Page 3 of 7 Page ID #:743




 1    name,” and “state[s] that fact in the complaint.” Cal. Code. Civ. Proc. § 474. An
 2    allegation “stating that ‘Doe’ defendants are fictitiously named” “satisfies the purpose of
 3    identifying the fictitiously named defendants” under CCP § 474. Dieckmann v. Superior
 4
      Court, 175 Cal.App.3d 345, 354 (Ct. App. 1985). Once the names of the “fictitious[ly]
 5
      name[d]” defendants, i.e., the so-called “Doe defendants,” are ascertained, the Plaintiff
 6
      may amend the complaint to add Doe defendants’ “true name[s],” and “the amendment is
 7
      deemed to ‘relate[ ] back’ to the filing date of the original complaint for purposes of the
 8
      statute of limitations.” Fireman's Fund Ins. Co. v. Sparks Constr., Inc., 114 Cal.App.4th
 9
      1135, 1143 (2004) (quoting Bernson v. Browning–Ferris Industries, 7 Cal.4th 926, 930
10
11    (1994)) (alterations in original).

12           “California’s policy in favor of litigating cases on their merits requires that the
13    fictitious name statute be liberally construed.” Rumberg v. Weber Aircraft Corp., 424 F.
14    Supp. 294, 297 (C.D. Cal. 1976) (citing Barnes v. Wilson, 40 Cal.App.3d 199 (1974)).
15    CCP § 474 “should be . . . construed as to cure the evil it was designed to correct, and
16    advance the remedy” of enabling Plaintiffs to bring suit against defendants whose names
17    were previously unknown during the statute of limitations period. Irving v. Carpentier,
18    70 Cal. 23, 26 (1886). Under CCP § 474, the relevant fact is whether Plaintiff was
19
      “actually ignorant of [the Defendants’ names],” and “not when he might, by the use of
20
      reasonable diligence, have discovered [those names].” Irving, 70 Cal. at 26 (emphasis
21
22
23            of identity was given by endorsement upon the document served as required by this
              section. The foregoing requirements for entry of a default or default judgment shall be
24            applicable only as to fictitious names designated pursuant to this section and not in the
              event the plaintiff has sued the defendant by an erroneous name and shall not be
25            applicable to entry of a default or default judgment based upon service, in the manner
26            otherwise provided by law, of an amended pleading, process or notice designating
              defendant by his true name.
27    Cal. Code. Civ. Proc. § 474. The aforementioned requirements apply only to default judgments
      against unnamed defendants.
28
      PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS THE THIRD AMENDED
       COMPLAINT AS TO TIMOTHY PLUNKETT AND ERIC CLINTON PURSUANT TO FEDERAL
        RULE OF CIVIL PROCEDURE 12(b)(6); MEMORANDUM OF POINTS AND AUTHORITIES
                                             3
     Case 5:17-cv-02470-JGB-KK Document 94 Filed 03/02/20 Page 4 of 7 Page ID #:744




 1    added). “[T]here is no requirement under section 474 that plaintiff exercise reasonable
 2    diligence in discovering either the true identity of fictitious defendants or the facts giving
 3    him a cause of action against such persons after the filing of a complaint and up to the
 4
      expiration of the applicable limitation period.” Streicher v. Tommy's Elec. Co., 164 Cal.
 5
      App. 3d 876, 883, 211 Cal. Rptr. 22, 26 (Ct. App. 1985) “Whether his ignorance is from
 6
      misfortune or negligence, he is alike ignorant, and this is all the statute requires.” Irving,
 7
      70 Cal. at 26.
 8
            “California courts have recognized that ‘where an amendment does not add a
 9
      ‘new’ defendant, but simply corrects a misnomer by which an ‘old’ defendant was sued,”
10
11    CCP § 474 authorizes the amended complaint to relate back to the original complaint.

12    Butler v. Nat'l Cmty. Renaissance of California, 766 F.3d 1191, 1201 (9th Cir. 2014)
13    (quoting Hawkins v. Pac. Coast Bldg. Prods., Inc., 124 Cal.App.4th 1497 (2004))
14    (emphases added).
15                 B.     Plaintiff’s Claims Against Defendants Plunkett and Clinton are
16                        Not Time-barred Because, Under Cal. Code Civ. Proc. § 474,
                          They Relate Back to the Filing Date of the Original Complaint.
17
18          Defendants admit that “[t]he original Complaint filed on December 12, 2017 . . .
19    was timely with respect to the claims asserted against” the parties named therein. (Doc.
20    89 at 11.) Accordingly, for purposes of determining whether claims asserted in the Third
21    Amended Complaint (“TAC”) against defendants Plunkett and Clinton are timely, the
22    only remaining question is whether they “relate back” to the original complaint.
23          Plaintiff’s original Complaint identifies DOE defendants as “sworn peace officers
24
      and/or deputy sheriffs and/or supervisors and/or investigators and/ Special Officers
25
      and/or a dispatchers and/or some other public officer, public official or employee of
26
      defendant County of San Bernardino, who in some way committed some or all of the
27
      tortious actions (and constitutional violations) complained of in this action[.]” (See Doc.
28
      PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS THE THIRD AMENDED
       COMPLAINT AS TO TIMOTHY PLUNKETT AND ERIC CLINTON PURSUANT TO FEDERAL
        RULE OF CIVIL PROCEDURE 12(b)(6); MEMORANDUM OF POINTS AND AUTHORITIES
                                             4
     Case 5:17-cv-02470-JGB-KK Document 94 Filed 03/02/20 Page 5 of 7 Page ID #:745




 1    1 at ¶ 8 [emphases added].) Its descriptions of DOE defendants are phrased in the
 2    disjunctive. (Ibid.) The Complaint clarifies that “Plaintiff is presently unaware of the
 3    identities of DOES” and that Plaintiff “will amend his complaint to add . . . the actual
 4
      names of said DOE defendants, when ascertained[.]” (Doc. 1 ¶ 11.) The plain language of
 5
      the original Complaint, strictly construed, applies to “sworn peace officers,” regardless of
 6
      their employment status with the County of San Bernardino. Plaintiff subsequently
 7
      learned that two DOE defendants—defendants Plunkett and Clinton—are “sworn police
 8
      officers” employed with “Ridgecrest Police Department,” and amended the Complaint
 9
      accordingly. (Doc. 56 ¶¶ 9-19.) Because CCP § 474 allowed plaintiff to identify Plunkett
10
11    and Clinton “by any name,” and because the Complaint identified them as “sworn peace

12    officers,” and because the complaint clearly stated that Plaintiff was “unaware of [their]
13    identities,” Plaintiff’s Complaint “satisfie[d] the purpose of identifying the fictitiously
14    named defendants” under CCP § 474. Dieckmann v. Superior Court, 175 Cal.App.3d
15    345, 354 (Ct. App. 1985). See Cal. Code Civ. Proc. § 474. Plaintiff has not “pled the
16    ‘Does’ in such a way to categorically exclude the substituted defendants.” (Cf. Doc. 89 at
17    15.)
18           Moreover, even if a reference to “DOES” ’ employment with “San Bernardino
19
      County” fell outside the scope of CCP § 474’s language permitting designation of
20
      unknown defendants “in any pleading . . . by any name,” the amendment naming
21
      defendants Plunkett and Clinton would relate back to the original Complaint because the
22
      “amendment does not add a ‘new’ defendant, but simply corrects a misnomer by which
23
      an ‘old’ defendant was sued.” Butler v. Nat'l Cmty. Renaissance of California, 766 F.3d
24
25
      1191, 1201 (9th Cir. 2014) (quoting Hawkins v. Pac. Coast Bldg. Prods., Inc., 124

26    Cal.App.4th 1497 (2004)) (emphases added).

27           Defendants assert that “Plaintiff does not allege any justification for apparently
28    waiting until 2019 to investigate, conduct discovery and learn that CHP and Ridgecrest
      PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS THE THIRD AMENDED
       COMPLAINT AS TO TIMOTHY PLUNKETT AND ERIC CLINTON PURSUANT TO FEDERAL
        RULE OF CIVIL PROCEDURE 12(b)(6); MEMORANDUM OF POINTS AND AUTHORITIES
                                             5
     Case 5:17-cv-02470-JGB-KK Document 94 Filed 03/02/20 Page 6 of 7 Page ID #:746




 1    PD Officers were involved in the alleged incident,” and “Plaintiff did nothing to
 2    investigate the incident, conduct formal discovery or obtain the names of the putative
 3    defendants before the statute of limitations expired.” (Doc. 89 at 15.) Even if Defendants’
 4
      assertion were true, it would be legally irrelevant because “there is no requirement under
 5
      section 474 that plaintiff exercise reasonable diligence in discovering either the true
 6
      identity of fictitious defendants or the facts giving him a cause of action against such
 7
      persons after the filing of a complaint.” Streicher, 164 Cal.App.3d at 883. Plaintiff is not
 8
      obligated to offer a “justification” for not discovering Defendants’ identities sooner. As
 9
      the California Supreme Court explained, the only relevant inquiry here is whether
10
11    Plaintiff was “actually ignorant,” regardless of “[w]hether his ignorance is from

12    misfortune or negligence.” Irving, 70 Cal. at 26. So long as Plaintiff was ignorant of
13    Defendants’ “true name[s],” and timely filed his complaint against Defendants “by any
14    name,” that “is all the statute requires.” Ibid.
15          Finally, Defendants’ reliance on Fireman's Fund Ins. Co. v. Sparks Constr., Inc.,
16    114 Cal.App.4th 1135 (2004) is misplaced. In that case, “the first amended complaint had
17    no Doe allegations” whatsoever. See Fireman's Fund., 114 Cal.App.4th at 1144. Thus,
18    the Fireman’s Fund plaintiffs’ subsequent “Doe amendments did not relate back to the
19
      filing date of the original complaint.” Ibid. In the instant case, by contrast, each version
20
      of Plaintiff Barrio’s complaint referenced defendant “DOES.” (See Doc. 1, 23, 29, 56.)
21
            Thus, under CCP § 474, the claims asserted in the TAC against Defendants
22
      Plunkett and Clinton “relate back” to the filing date of the original complaint, which
23
      Defendants concede was “timely.” (Doc. 89 at 11.) Accordingly, Plaintiff’s claims
24
25
      against Defendants Plunkett and Clinton are not barred by the statute of limitations, and

26    Defendants’ motion under Fed. R. Civ. P. 12(b)(6) must therefore be denied.

27    //
28    //
      PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS THE THIRD AMENDED
       COMPLAINT AS TO TIMOTHY PLUNKETT AND ERIC CLINTON PURSUANT TO FEDERAL
        RULE OF CIVIL PROCEDURE 12(b)(6); MEMORANDUM OF POINTS AND AUTHORITIES
                                             6
     Case 5:17-cv-02470-JGB-KK Document 94 Filed 03/02/20 Page 7 of 7 Page ID #:747




 1                                     CONCLUSION
 2    For the reasons above, Defendants’ Motion to Dismiss should be DENIED.
 3
 4
      Date: March 2, 2020
 5
                                               __s/_Brenton W. Aitken Hands_          ___
 6                                             Brenton W. Aitken Hands
 7                                             Associate Attorney,
                                               Law Office of Jerry L. Steering
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
      PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS THE THIRD AMENDED
       COMPLAINT AS TO TIMOTHY PLUNKETT AND ERIC CLINTON PURSUANT TO FEDERAL
        RULE OF CIVIL PROCEDURE 12(b)(6); MEMORANDUM OF POINTS AND AUTHORITIES
                                             7
